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           EXHIBIT A
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                                                                                                     PROTHONOTARY
715 Twining Road, Suite 211                                                                       05 APR 2013 04:26 pm
Dresher, PA 19025                                                                                      S. GARRETT

Phone: (215) 884-2491
Counsel for Plaintiffs and the Putative Class (Additional Counsel Listed on Signature Page)
                                                         :
DAVID VERDERAME,                                         :   PHILADELPHIA COUNTY
                                                         :   COURT OF COMMON PLEAS
                                    Plaintiff,           :
         v.                                              :   CLASS ACTION
                                                         :
RADIOSHACK CORPORATION,                                  :   NON-JURY TRIAL
                                                         :
                                    Defendant.           :
                                                         :

                                    COMPLAINT -- CLASS ACTION
                                       1O — Contract: Other

                        NOTICE                                                            AVISO
     You have been sued in court. If you wish to                     Le han demandado a usted en la corte. Si usted quiere
defend against the claims set forth in the following           defenderse de estas demandas expuestas en las paginas
pages, you must take action within twenty (20) days            siguientes, usted tiene veinte (20) dias de plazo al partir de
                                                               la fecha de la demanda y la notification. Hace falta asentar
after the complaint and notice are served, by entering         una comparencia escrita o en persona o con un abogado y
a written appearance personally or by attorney and             entregar a la corte en forma escrita sus defenses o sus
filing in writing with the court your defenses or              objeciones a las demandas en contra de su persona. Sea
objections to the claims set forth against you. You            avisado que si usted no se defiende, la corte tomara
are warned that if you fail to do so the case may              medidas y puede continuar la demandaen contra suya sin
proceed without you and a judgment may be entered              previo aviso o notificacion. Ademas, la corte puede
against you by the court without further notice for            decidira favor del demandante y require que usted
any money claimed in the complaint or for any other            cumplacon todas las provisiones de esta demanda. Usted
claim or relief requested by the plaintiff. You may            puede perder dinero o sus propriedades u otros derechos
                                                               importantes para usted.
lose money or property or other rights important to                  LLEVE ESTA DEMANDA A UN ABOGADO
you.                                                           INMEDIATA-MENTE SI NO TIENEABOGADO O SI
     YOU SHOULD TAKE THIS PAPER TO                             NO TIENE EL DINERO SUFFICIENTE DE PAGAR
YOUR LAWYER AT ONCE. IF YOU DO NOT                             TAL SERVICIO, VAYA EN PERSONA O LLAME POR
HAVE A LAWYER OR CANNOT AFFORD ONE,                            TELEFONOA LA OFFICINA CUYA DIRECCION SE
GO TO OR TELEPHONE THE OFFICE SET                              ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
FORTH BELOW TO FIND OUT WHERE YOU                              DONDE SE PUEDE CONSEGUIR ASISTENCIA
CAN GET LEGAL HELP.                                            LEGAL.
     PHILADELPHIA BAR ASSOCIATION                                    ASSOCIACION DE LICENCIADOS DE
                                                                     FILADELFIA
     Lawyer Referral and Information Service                         Servicio De Referencia E Informacion Legal
     1101 Market Street, 11th Floor                                  1101 Market Street, 11th Floor
     Philadelphia, Pennsylvania 19107                                Filadelfia, Pennsylvania 19107
     (215) 238-1701                                                  (215) 238-1701




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         Plaintiff David Verderame (“Plaintiff”) brings this class action lawsuit against Defendant

RadioShack Corporation (“Defendant”), seeking all available relief under the Pennsylvania

Minimum Wage Act of 1968 (“PMWA”), 43 P.S. §§333.101, et seq. The following allegations

are based on personal knowledge as to Plaintiff’s own conduct and are made on information and

belief as to the acts of others.

                                             PARTIES

         1.     Plaintiff is an individual residing at 301 Clifford Road, Selinsgrove, Pennsylvania

17870.

         2.     Plaintiff is an employee covered by the PMWA and entitled to its protections.

         3.     Defendant is a company registered to do business in the Commonwealth of

Pennsylvania and maintaining a principal place of business at 300 RadioShack Circle, Fort

Worth, Texas 76102. According to the Pennsylvania Department of State Corporation database,

Defendant has a Registered Office Address at 123 South Broad Street, Philadelphia,

Pennsylvania 19109.

         4.     Defendant is an employer covered by the PMWA and required to comply with its

overtime pay mandates.

                                   JURISDICTION AND VENUE

         5.     This Court has personal jurisdiction over Defendant.

         6.     Venue in this Court is proper under Pennsylvania Rules of Civil Procedure 1006

and 2179 because Defendant regularly conducts business in Philadelphia County, has a

Registered Office Address within Philadelphia County, and has store locations within

Philadelphia County.




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                                            FACTS

       7.      According to its most recent Annual Report, Defendant “primarily engage[s] in

the retail sale of consumer electronics goods and services through [its] RadioShack store chain.”

       8.      As of December 31, 2011, Defendant, according to its most recent Annual Report,

operated 288 “Company-Operated Stores, Kiosks and Dealer Locations” within the

Commonwealth of Pennsylvania. These locations shall be referred to herein as “the

Pennsylvania Stores.”

       9.      At least three of Defendant’s Pennsylvania Stores are located within Philadelphia

County.

       10.     Defendant employs hundreds of individuals at the Pennsylvania Stores.

       11.     Most Pennsylvania Store employees receive overtime premium compensation for

hours worked over 40 during the workweek. Some of these overtime-eligible employees are

paid on a salary basis and have their overtime premium compensation calculated pursuant to the

“fluctuating workweek” methodology described at 29 C.F.R. § 778.114 when they work over 40

hours in a single workweek.

       12.     Upon information and belief, Defendant has utilized the fluctuating workweek

method to calculate the overtime premium compensation of over 100 Pennsylvania Store

employees during the three-year time period applicable to this lawsuit.

       13.     The PMWA requires that employees receive overtime compensation “not less

than one and one-half times” the employee’s regular pay rate for all hours worked over 40 in a

workweek. See 43 P.S. § 333.104(c). However, under the “fluctuating workweek”

methodology, salaried employees do not receive overtime premium compensation in the full

time-and-one-half amount required by the PMWA. Instead, under the fluctuating workweek




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method, employees receive for each credited overtime hour an extra payment equaling one-half

of the rate arrived at by dividing the employee’s weekly salary by the total number of hours

worked during the week. See 29 U.S.C. § 778.114; Foster v. Kraft Foods Global, Inc., 285

F.R.D. 343, 344-45 (W.D. Pa. 2012) (discussing fluctuating workweek method).

       14.     The fluctuating workweek method of overtime compensation is impermissible

under the PMWA. See, e.g., Foster, 285 F.R.D., at 348.

       15.     From approximately January 24, 2012 until approximately November 6, 2012,

Plaintiff was employed by Defendant as a Store Manager and assigned to its retail store locations

in Pennsdale, Pennsylvania.

       16.     As Store Manager, Plaintiff received a weekly salary and when credited by

Defendant with working over 40 hours in a single workweek, he was paid overtime

compensation pursuant to the fluctuating workweek method.

       17.     Through Defendant’s illegal use of the fluctuating workweek methodology of

overtime compensation, Plaintiffs and other class members throughout the three-year period

relevant to this lawsuit have been underpaid for hours credited by Defendant and worked over 40

in a workweek.

                              CLASS ACTION ALLEGATIONS

       18.     Plaintiff brings this action on behalf of himself and as a class action on behalf of

all Pennsylvania Store employees who, during any workweek since April 5, 2010, had their

overtime pay calculated pursuant to the fluctuating workweek method.

       19.     This action may be properly maintained as a class action pursuant to Pennsylvania

Rules of Civil Procedure 1702, 1708, and 1709.

       20.     The Class is so numerous that joinder of all individual members is impracticable,




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and the class members are objectively ascertainable based on payroll data maintained or

controlled by Defendant.

       21.     Defendant’s conduct with respect to Plaintiff and the class raises questions of law

or fact that are common to the entire class. In particular, during the relevant class period,

Defendant’s maintained the common practice of calculating overtime premium pay under the

“fluctuating workweek” methodology, as described herein. The facts and evidence pertaining to

this companywide practice are common to the class.

       22.     Plaintiff’s claims and Defendant’s corresponding defenses are typical of the

claims or defenses applicable to the entire class because, inter alia, all claims are based on the

same legal theories and remedies. Furthermore, Plaintiff’s assertion that Defendant’s use of the

fluctuating workweek violates the PMWA is sufficiently aligned with the interests of the class as

a whole so that pursuit of Plaintiff’s own interests will benefit the class as a whole.

       23.     Plaintiff will fairly and adequately assert and protect the interests of the class

because, inter alia, (a) Plaintiff is represented by experienced class action counsel who is well-

prepared to vigorously and competently litigate this action on behalf of the class; (b) Plaintiff

and his counsel are free of any conflicts of interest that prevent them from pursuing this action

on behalf of the class; and (c) Plaintiff and his counsel have adequate financial resources to

assure that the interests of the class will not be harmed.

       24.     A class action provides a fair and efficient method for adjudication of the

controversy because, inter alia,

                       (a)     The previously mentioned common questions of law and fact

               predominate over any questions affecting Plaintiff or any individual class

               member;




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             (b)     All class members are easily identifiable through Defendant’s

     records and computer files, and no foreseeable difficulties in the management of

     this action as a class action exists;

             (c)     The monetary damages sought on behalf of the class are readily

     calculated and attributable to class members;

             (d)     The injunctive relief sought on behalf of the class is easily

     administered and enforceable;

             (e)     Maintenance of the instant litigation as a class action protects

     against the risks of inconsistent or varying adjudications that might result if

     individual class members were to commence independent actions in various

     courthouses throughout the Commonwealth;

             (f)     Plaintiff is not aware of any other private civil actions commenced

     by or against the class members concerning the issues raised in this action;

             (g)     Because Defendant conducts a substantial amount of business in

     Philadelphia County, this Court is an appropriate forum for the litigation of the

     claims of the entire class;

             (h)     The complexities of the issues and the expense of litigating the

     separate claims of individual class members weigh in favor of class certification.

     For example, in the instant action, Plaintiff will seek and present evidence

     concerning, inter alia, Defendant’s common timekeeping, compensation, and

     payroll practices. The gathering and presentation of such evidence in multiple

     proceedings would be inefficient, redundant, and unjustifiably expensive. The

     class action device, when compared to multiple proceedings, presents far fewer




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              management difficulties and provides the benefits of unitary adjudication,

              economies of scale, and comprehensive supervision by a single court.

              Concentrating this litigation in one forum promotes judicial economy and

              efficiency and promotes parity among the claims of individual class members as

              well as judicial consistency. Thus, the conduct of this action as a class action

              conserves the resources of the parties and the court system, protects the rights of

              each class member, and meets all due process requirements as to fairness to

              Defendant. Adequate notice of this class action can be provided to class members

              by hand distribution and/or direct mail; and

                      (i)     Because the damages sustained by individual class members are

              relatively small compared to the resources of Defendant and the costs of

              individual litigation, it is impracticable and unrealistic for individual class

              members to independently pursue litigation against Defendant in order to

              vindicate their rights.

                                            COUNT I

       25.    All previous paragraphs are incorporated as though fully set forth herein.

       26.    Defendant is an employer covered by the PMWA’s mandates, and Plaintiff and

other class members are employees entitled to the PMWA’s protections.

       27.    The PMWA requires that employees receive overtime compensation “not less

than one and one-half times” the employee’s regular rate of pay for all hours worked over 40 in a

workweek. See 43 P.S. § 333.104(c).

       28.    As described herein, Defendant violated the PMWA by calculating the overtime

premium compensation due to Plaintiff and the class members when credited with working over




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40 hours in a single workweek based on the fluctuating workweek method, even though such

method is not permitted under the PMWA. See, e.g., Foster, 285 F.R.D., at 348.

       29.     As a result of Defendant’s illegal conduct, Plaintiff and the class members have

received overtime payments that are significantly less than the payments they would have

received in the absence of the fluctuating workweek method.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the class, seeks the following relief:

       A.      An injunction prohibiting Defendant from engaging in future PMWA violations;

       B.      Unpaid overtime wages to the fullest extent permitted under the law;

       C.      Prejudgment interest to the fullest extent permitted under the law;

       D.      Litigation costs, expenses, and attorney’s fees to the fullest extent permitted under

the law; and

       E.      Such other and further relief as this Court deems just and proper.

Date: April 5, 2013                        /s/ R. Andrew Santillo
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                                           Attorneys for Plaintiff



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